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                                                                       FILED
                                                                         MAR 2 6 2018
                                                                      Cler1<, U.S Di&trict Court
                 IN THE UNITED STATES DISTRICT COURT                     District Of Montana
                                                                               Missoula
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


 UNITED STATES OF AMERICA,                      CR 17-28-M- DWM-1

             Plaintiff,

       vs.                                              ORDER

 CHRISTOPHER THEODORE COLE,

             Defendant.


      Defendant Christopher Theodore Cole having moved to seal his sentencing

·memorandum,

      IT IS ORDERED that the defendant's motion (Doc. 52) is GRANTED. The

Clerk of Court is directed to SEAL the sentencing memorandum filed at Doc. 50.

See L.R. CR 49.l(a)(2)(F). The redacted sentencing memorandum lodged at

52-1 is deemed filed.
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      DATED this ..d&day ofMarch, 2018.
